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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LOUIS WENDELL, MELVIN                              §
WENDELL,                                           §
            Plaintiffs,                            §                   SA-22-CV-00628-XR
                                                   §
v.                                                 §
                                                   §
MORTGAGE ASSETS MANAGEMENT,                        §
LLC C/O PHH MORTGAGE                               §
CORPORATION,                                       §
             Defendant.

                                  ORDER TO SHOW CAUSE

       On this date, the Court considered the status of this case. On June 6, 2022, Plaintiffs

initiated this action by filing a petition in state court. ECF No. 1 ¶ 1. On June 16, 2022, Defendants

removed the action to this court. ECF No. 1. In its notice of removal, Defendant stated it had

“requested a copy of all the pleadings” from state court and would “supplement this Notice of

Removal when received.” Id. ¶ 14 n.2. To date, however, no supplement has been received. It is

therefore unclear whether Defendant has answered or otherwise responded to Plaintiffs’ petition.

       Accordingly, Defendants are hereby ORDERED to file a certified copy of all state court

pleadings, including any answer or response to Plaintiffs’ petition, no later than August 15, 2022.

       It is so ORDERED.

       SIGNED this August 1, 2022.




                                               XAVIER RODRIGUEZ
                                               UNITED STATES DISTRICT JUDGE
